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From:           Long, Michael
To:             Sarah Rinkevich; Greg Beatty
Cc:             Angela Picco
Subject:        Fwd: SWFL petition finding comments
Date:           Wednesday, May 10, 2017 4:17:00 PM
Attachments:    20170509_Gjon"s comments on_DRAFT WIFL_2017_12-mo not warranted_5-3-2017. CLEAN.v2.docx


Greg, Sarah: please see the comments below from our CFWO. Per my other email, we are
still gathering feedback from other offices and hope to let you know R8's position on the not
substantial finding by the end of the week.

Mike
---------- Forwarded message ----------
From: Hazard, Gjon <gjon_hazard@fws.gov>
Date: Tue, May 9, 2017 at 5:04 PM
Subject: SWFL petition finding comments
To: Angela Picco <angela_picco@fws.gov>, "Long, Michael" <michael_long@fws.gov>
Cc: Bradd Bridges <bradd_bridges@fws.gov>, Scott Sobiech <Scott_Sobiech@fws.gov>


From a very quick and very abbreviated review (e.g., I didn't even look at the threats analysis
at all), I have some relatively minor but (I believe) substantive comments. Please see my
"comment bubbles" in the attached document.

There is one topic I would like to elaborate on... Perhaps there was discussion internal to R2
on this, or perhaps I just missed it in my quick review, but it appears to me that Zink's rebuttal
(Zink 2016, The Open Ornithology Journal 9(1):60-69) to the Theimer et al. (2016) critique of
Zink (2015) is not presented in the document. While the published version didn't appear until
very late in 2016, I believe a manuscript of that document was sent to the Service by Dr. Zink
in mid-2016. It seems to me that the Service should acknowledge and include this document in
our evaluation, given that it is available and that Zink (2015) and Theimer et al. (2016) play
such a central role to the petition and our response.

Please feel free to contact me if you have any questions or comments about my review.

Thank you very much.

Sincerely,
-Gjon

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